                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

               Plaintiffs,                                    Case No. 25-cv-10676

                   v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
 AND PRELIMINARY INJUNCTION AND STAY OF ADMINISTRATIVE ACTION

          Plaintiffs respectfully request that the Court grant their Emergency Motion for a

Temporary Restraining Order and Preliminary Injunctive Relief. The grounds for this motion

are set forth in the accompanying memorandum of law, exhibits in support thereof, the

Complaint, the concurrently filed motion for class certification, and the applicable law. A

proposed order also accompanies this motion.

          This motion is being filed on Sunday, March 23, 2025. The following dates are

critical to the timing of adjudication of this motion. Plaintiff E.L.P. is currently in immigration

custody in Plymouth, Massachusetts and is at imminent risk of deportation to a third country.

Plaintiff O.S.G. already has been deported and he is in hiding in Guatemala, he seeks an order

to facilitate his return as expeditiously as possible. Plaintiff D.V.D. is required to check-in at the

office of U.S. Immigration and Customs Enforcement (ICE) in Burlington, Massachusetts on


                                                  1
March 28, 2025 and is at imminent risk of re-detention and deportation to a third country at that

time. Plaintiff M.M. is required to check-in at the ICE office in Dallas, Texas on April 4, 2025

and is at imminent risk of re-detention and deportation to a third country at that time.

                             REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), Plaintiffs believe that oral argument may assist the

Court.

Respectfully submitted,

 s/Tomás Arango
 Tomas Arango                                   Matt Adams*
 Trina Realmuto*                                Leila Kang*
 Kristin Macleod-Ball*                          Aaron Korthuis*
 Mary Kenney*                                   Glenda M. Aldana Madrid*
 NATIONAL IMMIGRATION                           NORTHWEST IMMIGRANT
    LITIGATION ALLIANCE                           RIGHTS PROJECT
 10 Griggs Terrace                              615 Second Avenue, Suite 400
 Brookline, MA, 02446                           Seattle, WA 98104
 (617) 819-4649                                 (206) 957-8611
 trina@immigrationlitigation.org                matt@nwirp.org

 Anwen Hughes*
 HUMAN RIGHTS FIRST
 75 Broad Street, 31st Floor
 New York, NY 10004
 (212) 845-5244
 HughesA@humanrightsfirst.org
                                      Attorneys for Plaintiffs

 * Application for admission pro hac vice forthcoming

Dated: March 23, 2025




                                                 2
           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), I emailed Rayford Farquhar,

Deputy Chief, Civil Division and Chief, Defensive Litigation for the Civil Division of the

United States Attorneys’ Office for the District of Massachusetts on March 21, 2025 to advise

him of the forthcoming litigation, including the instant motion for a temporary restraining order

and preliminary injunctive relief seeking to enjoin third country removals unless the person

receives written notice of the third country and opportunity to present their fear-based claim,

and to stay the re-detention directive. I further stated that I would email him, or whomever he

wished to designate, copies of Plaintiffs’ filings after they were docketed, and that Plaintiffs

would arrange for personal service on his office on Monday morning, March 24, 2025.

       This communication was an attempt to resolve the issues raised in this motion. Mr.

Farquhar has not yet responded to my email at the time of this filing and, therefore, the parties

were unable to reach a resolution.


s/ Trina Realmuto
Trina Realmuto




                                                 3
